               Case 1:21-cv-06400-JPC Document 32 Filed 02/10/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
NICK GIOULES,
                                          Plaintiff(s),

                                                                           1:21            6400            JPC
                                                                                    Civ.               (      )
                      - against -
                                                                           CLERK'S CERTIFICATE
ANTIGUA PHARMACY LLC and BRENDALIS A                                           OF DEFAULT

                                        Defendant(s),
-------------------------------------------------------------X

                     I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
July 27, 2021
                        with the filing of a summons and complaint, a copy of the summons and
                                                          Antigua Pharmacy LLC on 8/11/2021
complaint was served on defendant(s)
                             Hana Yigzaw (pharmacist/person of suitable age & discretion) (& mail)
by personally serving                                                                                             ,
                                                              August 18, 2021                   9-10
and proof of service was therefore filed on                                       , Doc. #(s)                     .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York
          February 10              22
                            , 20                                          RUBY J. KRAJICK
                                                                            Clerk of Court


                                                                    By: _________________________
                                                                              Deputy Clerk




SD N Y W eb 3/2015
